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  Plaintiff Jaime D.’s Responses to Defendants’ Revised First Set of Interrogatories,
                                    July 29, 2019
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  12
                              UNITED STATES DISTRICT COURT
  13
               CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
  14
       LUCAS R., et al.,                        Case No. 2:18-CV-05741-DMG-PLA
  15
                       Plaintiffs,              PLAINTIFF JAIME D.’S RESPONSES TO
  16                                            DEFENDANTS’ REVISED FIRST SET OF
             v.                                 INTERROGATORIES.
  17

  18   ALEX AZAR, Secretary of U.S.
       Department of Health and Human
  19   Services; et al.,
  20
                       Defendants.
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                                               ii           PLAINTIFF JAIME D.’S ANSWERS TO
                                                                          INTERROGATORIES
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   1   PROPOUNDING PARTY: DEFENDANT ALEX AZAR, SECRETARY OF U.S. DEPARTMENT
   2                              OF HEALTH AND HUMAN SERVICES
   3   RESPONDING PARTY:          PLAINTIFF JAIME D.
   4   SET NUMBER:                ONE (REVISED)
   5         Plaintiff Jaime D. (“Plaintiff”) hereby objects and responds to Defendants’
   6   First Set of Interrogatories (“Interrogatories”) as follows:
   7   I.    GENERAL RESPONSE
   8         1.     Plaintiff’s response to the Interrogatories is made to the best of
   9   Plaintiff’s present knowledge, information, and belief. This response is at all times
  10   subject to such additional or different information that discovery or further
  11   investigation may disclose and, while based on the present state of Plaintiff’s
  12   recollection, is subject to such refreshing of recollection, and such additional
  13   knowledge of facts, as may result from Plaintiff’s further discovery or investigation.
  14         2.     Plaintiff reserves the right to make any use of, or to introduce at any
  15   hearing and at trial, information responsive to the Interrogatories but discovered
  16   subsequent to the date of Plaintiff’s initial response, including, but not limited to, any
  17   information obtained in discovery herein.
  18         3.     Plaintiff reserves all objections or other questions as to the competency,
  19   relevance, materiality, privilege or admissibility as evidence in any subsequent
  20   proceeding in or trial of this or any other action for any purpose whatsoever of this
  21   response.
  22         4.     Except for explicit facts admitted herein, no admissions of any nature
  23   whatsoever are implied or should be inferred. The fact that any Interrogatory herein
  24   has been answered should not be taken as an admission or acceptance of the existence
  25   of any fact or facts set forth or assumed by such Interrogatory, or that such answer
  26   constitutes admissible evidence.
  27         5.     To the extent Plaintiff agrees to produce information or documents in
  28   response to any Interrogatory, Plaintiff will respond with responsive, non-privileged
                                                                      PLAINTIFF JAIME D.’S RESPONSE TO
                                                   1                                 INTERROGATORIES
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   1   information or documents currently in their possession, custody, or control. Plaintiff
   2   has no duty to produce or identify information or documents outside of their
   3   possession, custody, or control. By stating in these responses that Plaintiff will
   4   produce information or documents or are searching for information or documents,
   5   Plaintiff does not represent that any information or document actually exists, but
   6   rather that they will make a good faith search and reasonable inquiry to ascertain
   7   whether information or documents responsive to the Interrogatories do, in fact, exist,
   8   and to produce such information or documents if they are found to exist and are
   9   within Plaintiff’s possession, custody, or control.
  10         6.     Plaintiff reserves the right to object on any grounds at any time to such
  11   other or supplemental interrogatories as Defendants may at any time propound
  12   involving or relating to the subject matter of these Interrogatories.
  13   II.   GENERAL OBJECTIONS
  14         Plaintiff makes the following general objections, whether or not separately set
  15   forth in response to each Interrogatory, to each and every instruction, definition, and
  16   document request made in the Interrogatories:
  17         1.     Plaintiff objects generally to the extent the Interrogatories seek
  18   information protected from disclosure by the attorney-client privilege, the work-
  19   product doctrine, the common interest or joint defense doctrine, or any other
  20   applicable privilege or ground for non-production of documents or information.
  21   Plaintiff does not intend to provide such protected information. Any inadvertent
  22   disclosure of any privileged or protected information is not to be deemed a waiver of
  23   any applicable privilege or protection. Plaintiff expressly reserves the right to object
  24   to the introduction at trial or other use of any privileged or otherwise protected
  25   information that may be inadvertently disclosed.
  26         2.     Plaintiff objects to the Interrogatories to the extent they purport to
  27   impose obligations on Plaintiff beyond those imposed by the Federal Rules of Civil
  28   Procedure, the Local Rules of the United States District Court for the Central District
                                                   2                  PLAINTIFF JAIME D.’S ANSWERS TO
                                                                                    INTERROGATORIES
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   1   of California, or any other applicable rules, law, or orders issued in this case.
   2         3.     Plaintiff objects to the Interrogatories to the extent they are not full and
   3   complete in and of themselves.
   4         4.     Plaintiff objects to the Interrogatories to the extent they contain subparts,
   5   and are compound, conjunctive, or disjunctive questions.
   6         5.     Plaintiff objects to the Interrogatories to the extent they employ terms
   7   and phrases that are vague, ambiguous and/or unintelligible.
   8         6.     Plaintiff objects generally to all definitions, instructions, and
   9   Interrogatories inclusive, to the extent they purport to enlarge, expand, or alter in any
  10   way the plain meaning and scope of any specific Interrogatory on the ground that
  11   such enlargement, expansion, or alteration renders said Interrogatory vague,
  12   ambiguous, unintelligible, unduly broad, and uncertain.
  13         7.     Plaintiff objects to the Interrogatories to the extent they seek information
  14   not relevant to the subject matter of the action or are not reasonably calculated to lead
  15   to the discovery of admissible evidence.
  16         8.     Plaintiff objects to the Interrogatories to the extent they seek information
  17   that is neither relevant to this proceeding nor proportional to the needs of this case
  18   based on the importance of such discovery in resolving the specific issues of this case
  19   and Plaintiff’s relative access to this information, as provided by Federal Rule of
  20   Civil Procedure 26(b)(1) and Federal Rules of Evidence 401 and 402. Plaintiff
  21   objects on the grounds that said demands are overly broad, and would subject
  22   Plaintiffs to undue annoyance, oppression, burden, and expense. Such information
  23   shall not be provided in response to the Interrogatories.
  24         9.     Plaintiff objects to the Interrogatories to the extent they seek information
  25   that pertains to a period of time not at issue in this action.
  26         10.    Plaintiff objects to the Interrogatories to the extent they seek documents
  27   or information not currently in Plaintiff’s possession, custody or control, or refer to
  28   persons, entities or events not known to Plaintiff, on the grounds that such
                                                    3                   PLAINTIFF JAIME D.’S ANSWERS TO
                                                                                      INTERROGATORIES
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   1   Interrogatories seek to require more of Plaintiff than any obligation imposed by law,
   2   would subject Plaintiff to unreasonable and undue annoyance, oppression, burden,
   3   and expense, and would seek to impose upon Plaintiff an obligation to investigate or
   4   discover information or materials from third parties or services who are equally or
   5   more readily accessible to Defendants.
   6             11.   Plaintiff objects to the Interrogatories to the extent they request that
   7   Plaintiff disclose information that would violate the privacy rights of third parties,
   8   including information relating to sensitive mental health or medical treatment or
   9   financial information. See, e.g., Applied Med. Distribution Corp. v. Ah Sung Int’l Inc.,
  10   2015 WL 12910698, at *3 (C.D. Cal. Dec. 21, 2015) (right of privacy in financial
  11   documents); Valdez v. Local 9509, Commc'ns Workers of Am., AFL-CIO, 2010 WL
  12   11508784, at *2 (S.D. Cal. Oct. 25, 2010) (right of privacy with respect to medical
  13   files).
  14             12.   Plaintiff objects to the Request to the extent they request that Plaintiff
  15   disclose information that would violate the First Amendment privilege held by third
  16   parties. See, e.g., Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress,
  17   2018 WL 2441518, at *11 (N.D. Cal. May 31, 2018).
  18             13.   Plaintiff objects to the Interrogatories to the extent that they seek the
  19   disclosure of information that calls for an expert witness opinion.
  20             14.   Plaintiff objects to the Interrogatories to the extent that they seek the
  21   disclosure of sensitive, proprietary, or confidential business information or trade
  22   secrets. Under appropriate circumstances, Plaintiff may agree to provide such
  23   information subject to the protective order entered in this case on March 12, 2019.
  24             15.   Plaintiff objects to the Interrogatories to the extent that they call for
  25   information equally available to Defendants.
  26             16.   Plaintiff objects to the Interrogatories to the extent they call for
  27   information concerning Plaintiff’s legal conclusions and/or legal theories.
  28             17.   Plaintiff objects to the definition of the terms “you” or “your,” and to
                                                       4                  PLAINTIFF JAIME D.’S ANSWERS TO
                                                                                        INTERROGATORIES
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   1   each Interrogatory containing those terms, on the grounds that the definition is vague,
   2   ambiguous, overbroad, and unduly burdensome. Without limiting the generality of
   3   the foregoing, Plaintiff objects that it would be impossible for them to know all of the
   4   persons and entities that Defendants purport to subsume within the definition as
   5   stated since the definition includes, e.g., any unidentified “person or entity over
   6   which either exercises authority with regard to the information sought, including but
   7   not limited to legal counsel.” Plaintiff disclaims any obligation to solicit information
   8   or documentation from any other parties in responding to the Interrogatories, and will
   9   not provide information or documents protected by the attorney-client privilege,
  10   attorney work product, or any other applicable privilege held by Plaintiff.
  11         18.    Plaintiff objects to the definition of the terms “constituting,”
  12   “reflecting,” “evidencing, “concerning,” and “regarding.” These terms are overly
  13   broad, vague, ambiguous, and unintelligible, require subjective judgment on the part
  14   of Plaintiff and its attorneys, and would require a conclusion or opinion of counsel in
  15   violation of the attorney work product doctrine. Without waiving this objection, and
  16   subject to all other objections and privileges stated herein, Plaintiff will construe the
  17   terms “constituting,” “reflecting,” “evidencing, “concerning,” and “regarding” as
  18   calling for information that on its face involves the subject matter of the
  19   Interrogatory.
  20         19.    Plaintiff objects to the definition of the terms “communication” to the
  21   extent it includes documents protected by the attorney-client privilege, attorney work
  22   product, or any other applicable privilege held by Plaintiff.
  23         20.    Plaintiff objects to the definition of the term “document” to the extent it
  24   seeks to elicit attorney work product, trial preparation materials and/or
  25   communications protected by the attorney-client privilege or any other applicable
  26   privilege held by Plaintiff.
  27         21.    Plaintiff objects to all definitions, instructions, and Interrogatories in
  28   which phrases such as “state” or “identify” appear. These terms are overly broad,
                                                    5                  PLAINTIFF JAIME D.’S ANSWERS TO
                                                                                     INTERROGATORIES
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   1   vague, ambiguous, and unintelligible, require subjective judgment on the part of
   2   Plaintiff and their attorneys, and would require a conclusion or opinion of counsel in
   3   the violation of the attorney work product doctrine.
   4          22.   Plaintiff objects to the Interrogatories to the extent they seek information
   5   regarding “all” or “any” or “each” or “every” instance of a given conduct where a
   6   reasonable representative discussion would suffice to show the pertinent information.
   7   Plaintiff construes requests for “all” or “any” or “each” or “every” instance as only
   8   seeking a reasonable, representative discussion that is sufficient to show the
   9   information sought.
  10          23.   Plaintiff objects to Defendants’ Instruction No. 4 regarding privilege
  11   logs to the extent it imposes obligations beyond the scope of privilege logs that the
  12   parties agree or shall agree will be prepared by both parties pursuant to a joint
  13   electronic discovery plan.
  14          24.   Plaintiff objects to the Interrogatories to the extent they seek to require
  15   Plaintiff to identify in its responses each or every document which may relate to,
  16   reflect or otherwise refer to specified matters on the grounds that such Interrogatories
  17   would subject Plaintiff to unreasonable and undue annoyance, oppression, burden,
  18   and expense.
  19          25.   Plaintiff objects to the Interrogatories to the extent they request more
  20   than 100 interrogatories, as limited by the Court. (Dkt. No. 157.)
  21   III.   SPECIFIC OBJECTIONS AND RESPONSES TO THE INTERROGATORIES
  22          Without waiving or limiting in any manner any of the foregoing General
  23   Objections, but rather incorporating them into each of the following responses to the
  24   extent applicable, Plaintiff responds to the Interrogatories as follows:
  25

  26          1. Identify and describe the factual circumstance of each instance since January
  27   2017 in which you claim Defendants blocked Vera Institute lawyers from
  28
                                                   6                  PLAINTIFF JAIME D.’S ANSWERS TO
                                                                                    INTERROGATORIES
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   1   representing you regarding custody, medication, placement, or release from ORR
   2   custody.
   3         Plaintiff’s Response: Plaintiff incorporates the General Responses and General
   4   Objections set forth above. Without waiving such objections, Plaintiff answers that he
   5   was not privy, and accordingly can neither identify nor describe, the factual
   6   circumstances in which Defendants blocked Vera Institute lawyers from representing
   7   him regarding custody, medication, placement, or release from ORR custody.
   8   Plaintiff further answers that to the best of his knowledge and recollection no lawyer
   9   ever represented him with respect to custody, medication, placement, or release until
  10   June 2018, when a non-Vera-funded attorney retained him.
  11         2. Identify any encounter with child protective services or any child welfare
  12   entity (regardless of whether the encounter resulted in an incident report involving or
  13   pertaining to you).
  14         Plaintiff’s Response: Plaintiff incorporates the General Responses and General
  15   Objections set forth above and further objects that the Interrogatory to the extent it
  16   seeks information regarding periods after ORR released him on the ground that such
  17   information is not reasonably calculated to lead to the discovery of admissible
  18   evidence.
  19         3. Identify any school absences and/or disciplinary actions, you have
  20   accumulated if any, and describe the reasons why, from the date you were released
  21   from ORR custody until the present.
  22         Plaintiff’s Response: Plaintiff incorporates the General Responses and General
  23   Objections set forth above and further objects that the Interrogatory to the extent it
  24   seeks information regarding periods after ORR released him on the ground that such
  25   information is not reasonably calculated to lead to the discovery of admissible
  26   evidence.
  27         4. Identify all employment, whether legal or illegal, you have undertaken since
  28   the date of your release from ORR custody.
                                                   7                 PLAINTIFF JAIME D.’S ANSWERS TO
                                                                                   INTERROGATORIES
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